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10                          UNITED STATES DISTRICT COURT
11                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   UNITED STATES OF AMERICA,               No. 2:23-MJ-165-DUTY

13             Plaintiff,                    GOVERNMENT’S SUBMISSION IN SUPPORT
                                             OF REQUEST FOR DETENTION
14                   v.

15                                           Hearing:   January 17, 2023
     CAROLINE JOANNE HERRLING,                          2:00pm
16     aka Carrie Phenix,                               Courtroom 880, Roybal
       aka Caroline Gardiner,
17
               Defendant.
18

19                                   INTRODUCTION
20        Defendant CAROLINE JOANNE HERRLING, aka “Carrie Phenix,” aka
21   “Caroline Gardiner” (“defendant”) has been charged with a years’ long
22   conspiracy to commit wire fraud, aggravated identity theft, and
23   possession with intent to distribute heroin and methamphetamine,
24   among other drugs.     As explained below, defendant presents a risk of
25   both flight and obstruction of justice, and a danger to the
26   community, and therefore should be detained.
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1    I.   Legal Standards

2         The Bail Reform Act of 1984 (the AAct@) requires pretrial

3    detention of a defendant where Ano condition or combination of

4    conditions will reasonably assure the appearance of the person as

5    required and the safety of any other person and the community.@              18

6    U.S.C. § 3142(e).    Courts must consider several factors when

7    determining whether there are conditions that could reasonably assure

8    the appearance of defendant and the safety of the community,

9    including: (1) the nature and seriousness of the offense charged;

10   (2) the weight of the evidence against defendant; (3) the defendant=s

11   character, physical and mental condition, family and community ties,

12   past conduct, history relating to drug or alcohol abuse, and criminal

13   history; and (4) the nature and seriousness of the danger to any

14   person or to the community that would be posed by the defendant=s
     release.   18 U.S.C. ' 3142(g); United States v. Winsor, 785 F.2d 755,
15
     757 (9th Cir. 1986).
16
          Detention is appropriate where a defendant is either a danger to
17
     the community or a flight risk; it is not necessary to prove both.
18
     United States v. Motamedi, 767 F.2d 1403, 1406 (9th Cir. 1985);
19
     United States v. Kouyoumdjian, 601 F. Supp. 1506, 1508-10 (C.D. Cal.
20
     1985).   A finding that a defendant is at risk of flight need only be
21
     supported by a preponderance of the evidence.        18 U.S.C. § 3142;
22
     United States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991).
23
     Furthermore, the Ninth Circuit has made clear that economic danger
24
     can be a basis for detention.      United States v. Reynolds, 956 F.2d
25
     192 (9th Cir. 1992); see also United States v. Possino, No. CR 13-
26
     0048-SVW-3 (JEM), 2013 WL 1415108 (C.D. Cal. Apr. 8, 2013); United
27
     States v. Cohen, 2010 WL 5387757 (N.D. Cal. Dec. 10, 2010).
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1         A bond will not mitigate the risk of danger.         S. Rep. No. 225,

2    98th Congress, 1st Sess. 1983, 1984 U.S.C.A.N. 3182, 3198-99 (n.60)

3    (Congress finding that “a defendant who is a danger to the community

4    remains dangerous even if he has posted a substantial money bond”).”

5    See also United States v. Rodriguez, 950 F.2d 85, 89 (2d Cir. 1991)

6    (“$100,000 security bond, cosigned by two financially responsible

7    persons, strict pretrial service agency supervision and restriction

8    of travel” and the “existence of four cosigners and $10,000 cash may

9    assure the appearance of [defendant] at trial but will not secure the
10   safety of the community”).
11        The Ninth Circuit has recognized that where a defendant has
12   access to vast sums of cash, any proposed bail amount is likely to be
13   illusory.    United States v. Townsend, 897 F.2d 989, 996 (9th Cir.

14   1990) (“The purpose of bail is not served unless losing the sum would

15   be a deeply felt hurt to the defendant and his family; the hurt must

16   be so severe that defendant will return for trial rather than flee”).

17        Here, the court already determined that there was probable cause

18   to believe that defendant violated 21 U.S.C. §§ 841(a)(1) and

19   (b)(1)(C).    Even if the weight of the substances seized were

20   infinitesimal, that would nonetheless carry a statutory maximum

21   penalty of 20 years in prison.      Where there is probable cause to

22   believe a defendant committed an offense for which a maximum

23   imprisonment of ten years or more is prescribed in the Controlled

24   Substances Act, there is a rebuttable presumption that no condition

25   or combination of conditions will reasonably assure defendant’s

26   appearance as required or the safety of the community. 18 U.S.C. §

27   3142(e)(3).

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1    II.   Defendant Is a Danger

2          Defendant’s last two known victims died under dark

3    circumstances.   Charles Wilding’s body has never been found despite

4    efforts to do so spanning two years.       All that is clear about his

5    disappearance is that defendant was in control of disposing of the

6    contents of his residence, and that thereafter defendant repeatedly

7    and inconsistently lied to the police, lawyers, and the courts about

8    where Wilding was, and manufactured false evidence that he was alive

9    and she was in contact with him.      (Aff. ¶¶ 9-41, 49.)
10         Robert Tascon died of a gunshot wound to the head after
11   complaining that he had been defrauded out of his one asset, a home
12   he had inherited.    It is undisputed that defendant received at least
13   $950,000 from the sale of that home even though she could not come up
14   with any justification for having received such a windfall.           Indeed,
15   before the agents confronted defendant with documentary evidence that
16   she had used to proceeds of Tascon’s property to purchase her own
17   personal house—which precipitated her admission of the same—she
18   claimed that her only involvement in the sale was driving Robert

19   Tascon to the notary, for which she thought she had been paid about

20   $150.   (Aff. ¶¶ 60-74.)

21         Even assuming that Tascon committed suicide—and there was no

22   suicide note, no witnesses, and the last person to see Tascon alive

23   said he was in fine spirits (Aff. ¶ 69)—his death would show the

24   extraordinary danger defendant poses to the community.          Identity

25   theft is a devastating crime, and stripping a troubled man of his

26   only asset could push him over the edge.

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1          Of course the danger defendant poses to the community is also

2    economic.   While her documented history of fraud in this case proves

3    that she has long posed an economic danger to the community in the

4    past, evidence discovered at her house shows she planned to continue

5    it.   She possessed special equipment to age paper (the better to make

6    recent forged wills appear old an authentic), copy signatures, and a

7    variety of stolen and forged identity documents.         Her digital devices

8    also had recent searches for “obituary” combined with “millionaire”

9    which shows how she located victims for her scheme.         She also
10   possessed a spreadsheet that listed these persons, their assets, and
11   whether or not they had known heirs, so that she could pick the
12   richest and easiest targets.      (Aff. ¶ 101).    Defendant admitted that
13   she is in the process of liquidating the valuables she gained through
14   the (forged) Lowenstein will.      (Aff. ¶ 80.)
15         Defendant also possessed distribution quantities of heroin and
16   methamphetamine, among other drugs (Aff. ¶¶ 84-88), a variety of
17   firearms, and multiple counterfeit or stolen law enforcement badges.
18   In total, there were 16 firearms in her house.         Just affixed to the

19   back of her bedroom closet door were nine firearms, including assault

20   rifles and shotguns.    Some of the weapons were untraceable “ghost”

21   guns without serial numbers.      Many were loaded, including the pistol

22   defendant kept in her purse.      She had a ghost pistol beside her bed

23   and another one in a secret stash that required magnets to open.

24   Defendant admitted that she had some guns.        (Aff. ¶¶ 92-96).

25   Defendant’s possession of so many loaded and untraceable firearms is

26   particularly troubling because she had counterfeit badges for the

27   DEA, U.S. Diplomatic Security Service, and Beverly Hills Police

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1    Department, suggesting that she passed herself off as law

2    enforcement.   (She admitted to owning the badges, but denied using

3    them improperly).    (Aff. ¶¶ 98-100.)      Defendant’s involvement with

4    drugs, including her use of methamphetamine (Aff. ¶ 82), further

5    suggests that her strewing loaded and unlocked firearms throughout

6    her home was for a criminal purpose (Aff. ¶ 95) and in any event is

7    extremely dangerous.

8    III. Defendant Has Already Obstructed Justice and Will Continue to Do
          So
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          Defendant’s specialty is obstruction of justice.          She uses
10
     sophisticated forgeries, power of attorney, identity theft, and fake
11
     notary stamps in order to manipulate lawyers, courts, and other
12
     victims into giving her control of a victim’s assets.          Further,
13
     whenever her scheme begins to unravel, she has one response:           more
14
     obstruction of justice.     First, defendant had the body of Charles
15
     Wilding disposed of to obstruct justice by hiding his death.           Then
16
     when the police investigated Wilding’s disappearance, defendant
17
     created a variety of sham addresses and telephone numbers for him to
18
     throw them off the trail, including purchasing a prepaid telephone
19
     for “Wilding” and setting up a Google Voice number to suggest he was
20
     alive.   (Aff. ¶¶ 20, 41.)    When that did not satisfy the police,
21
     defendant hired a man to lie to them as a purported eyewitness:              he
22
     was supposed to tell the authorities that Charles Wilding was alive
23
     and rich and had been living with him before going off to parts
24
     unknown.   She also hired him to intimidate someone who had threatened
25
     to expose her scheme to the police.        (Aff. ¶¶ 14-18.)    Defendant also
26
     had someone pretend to be Wilding on multiple occasions, and even
27
     claimed herself to be his daughter when accepting service of process.
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1    (Aff. ¶¶ 49-50.)    Victims who know defendant and her associates

2    described them as “dangerous.”      (Aff. ¶¶ 9, 33.)

3    IV.   Defendant Is a Flight Risk

4          No combination of conditions will reasonably assure the

5    appearance of defendant as required under 18 U.S.C. § 3142.           First,

6    defendant committed her fraud under the alias “Carrie Phenix”

7    precisely to avoid being held responsible for her crimes.           Second,

8    defendant possessed multiple look-alike identity documents, including

9    a U.S. Passport, all in the names of other individuals.          (Aff. ¶ 83).
10   Defendant could use similar identity documents to flee or to adopt a
11   new identity, like her “Carrie Phenix” one, now that her given name
12   is linked to this case.     Third, defendant took over at least three
13   real properties worth over $5 million in total.         While the
14   investigators have attempted to locate for forfeiture the proceeds of
15   defendant’s scheme, they have been unable to do so with the exception
16   of approximately $409,235 from the Robert Tascon fraud that was used
17   to purchase the house in defendant’s name that contained the drugs,
18   guns, and evidence of fraud.      (Aff. ¶ 75(c).)    Instead, the

19   investigators have found a dizzying array of transfers to co-

20   conspirators, including to straw accounts held in the names of

21   identities defendant controls, such as Robert Tascon and Charles

22   Wilding, which are now empty or nearly so.        (Aff. ¶¶ 24, 42-46, 60-

23   61, 64-65.)   Defendant, therefore, has hidden resources which could

24   be used to fund her flight.

25   V.    There Is No Reason to Believe Defendant Would Comply with Any
           Conditions of Release Imposed by the Court
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           Defendant has a history of ignoring court orders, administrative
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     actions, and criminal investigations.       Indeed, the heart of her fraud
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1    is conning courts into giving her control of the assets of victims,

2    either as trustee or through power of attorney.         (Aff. ¶¶ 23-27, 29,

3    32-34, 38, 53-59, 60-69, 70-74.)      Her promise to abide by court

4    supervision now would be meaningless.       Further, even after the state

5    bar issued a “cease and desist” letter against her for the

6    unauthorized practice of law, she continued to do so.          (Aff. ¶¶ 64,

7    76, 106.)    Similarly, even while being investigated by the LAPD

8    regarding the disappearance of Charles Wilding, defendant stole and

9    sold Robert Tascon’s property, leading to his demise.          (Aff. ¶¶ 9-14,
10   60-69.)    And even while being sued over the fraudulent sale of Robert
11   Tascon’s property, defendant nonetheless hunted for still more
12   victims.    (Aff. ¶ 101.)   Defendant’s extraordinarily brazen and
13   reckless crimes while under both investigation and “cease and desist”
14   warnings show that she is simply incapable of conforming her actions
15   to any kind of supervision--likely because of defendant’s addiction
16   to methamphetamine.    Accordingly, there is no reason to believe that
17   would comply with any conditions of the release that the Court might
18   otherwise have been inclined to impose.

19                                    CONCLUSION

20        For all the reasons discussed above, the government respectfully

21   requests that this Court find that defendant presents a risk of

22   flight and danger to the community that cannot be mitigated by any

23   bond or conditions of release, and order her detained.

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1    Dated: January 17, 2023             Respectfully submitted,

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